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1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION


                In Re:                                       §
                                                             §
                O'CEALLAIGH, LTD.                            §       Case No. 19-10434 TMD
                                                             §
                                   Debtor                    §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                        John Patrick Lowe, Trustee, chapter 7 trustee, submits this Final Account, Certification
                that the Estate has been Fully Administered and Application to be Discharged.

                        1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
                and, if applicable, any order of the Court modifying the Final Report. The case is fully
                administered and all assets and funds which have come under the trustee’s control in this case
                have been properly accounted for as provided by law. The trustee hereby requests to be
                discharged from further duties as a trustee.

                       2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
                discharged without payment, and expenses of administration is provided below:


                Assets Abandoned: 0.00                               Assets Exempt: NA
                (Without deducting any secured claims)

                Total Distributions to Claimants: 1,393,955.06       Claims Discharged
                                                                     Without Payment: NA

                Total Expenses of Administration: 102,472.89


                        3) Total gross receipts of $ 1,512,500.00 (see Exhibit 1), minus funds paid to the debtor
                and third parties of $ 16,072.05 (see Exhibit 2), yielded net receipts of $ 1,496,427.95 from the
                liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS            CLAIMS                CLAIMS                 CLAIMS
                                                SCHEDULED          ASSERTED              ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                 $ 1,000,000.00     $ 1,495,142.98        $ 1,185,019.51        $ 1,185,019.51

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA         102,472.89             102,472.89            102,472.89

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                 NA                    NA                     NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                   NA            8,935.55              8,935.55                8,935.55

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                     NA        1,847,527.72            200,000.00            200,000.00

TOTAL DISBURSEMENTS                              $ 1,000,000.00     $ 3,454,079.14        $ 1,496,427.95        $ 1,496,427.95


                  4) This case was originally filed under chapter 7 on 04/02/2019 . The case was pending
          for 32 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 11/09/2021                        By:/s/John Patrick Lowe, Trustee
                                                                               Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT


               EXHIBIT 1 – GROSS RECEIPTS

                              DESCRIPTION                                    UNIFORM                                        $ AMOUNT
                                                                            TRAN. CODE1                                     RECEIVED

REAL PROPERTY-400 WEST PARK STREET,
CEDAR PARK, TX                                                                  1110-000                                      1,500,000.00

UNSCHEDULED ASSET - FORFEITED
EARNEST MONEY                                                                   1290-000                                        12,500.00

TOTAL GROSS RECEIPTS                                                                                                        $ 1,512,500.00
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


               EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                      PAYEE                                       DESCRIPTION                            UNIFORM            $ AMOUNT
                                                                                                        TRAN. CODE             PAID

                                                     Surplus Funds Paid to Debtor 726
                                                     (a)(6) (includes Payments to
O'CEALLAIGH, LTD.                                    shareholders and limited partners)                  8200-002               16,072.05

TOTAL FUNDS PAID TO DEBTOR &                                                                                                   $ 16,072.05
THIRD PARTIES


               EXHIBIT 3 – SECURED CLAIMS

                                                    UNIFORM        CLAIMS
                                                                                     CLAIMS                 CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.      SCHEDULED                                                   CLAIMS PAID
                                                                                    ASSERTED               ALLOWED
                                                     CODE      (from Form 6D)

                LIGHT HARVEST
0004-1          COMMUNITIES, LLC                    4110-000                NA             302,213.72                0.00              0.00


0005            SPV WEST PARK, LLC                  4110-000         900,000.00            893,003.18         972,193.03        972,193.03




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                                                  UNIFORM         CLAIMS
                                                                                   CLAIMS            CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.       SCHEDULED                                              CLAIMS PAID
                                                                                  ASSERTED          ALLOWED
                                                   CODE       (from Form 6D)

              THE AMERICAN BANK OF
0002          COMMERCE                            4110-000          100,000.00        117,992.08        127,600.74        127,600.74


              DEPARTMENT OF THE
0006          TREASURY                            4300-000                 NA         150,010.24          65,000.00        65,000.00


0001          WILLIAMSON COUNTY                   4700-000                 NA           31,923.76         20,225.74        20,225.74

TOTAL SECURED CLAIMS                                            $ 1,000,000.00     $ 1,495,142.98    $ 1,185,019.51    $ 1,185,019.51


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                               CLAIMS             CLAIMS             CLAIMS
                PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                             SCHEDULED           ASSERTED           ALLOWED
                                            CODE

TRUSTEE COMPENSATION:JOHN
PATRICK LOWE                                2100-000                     NA           68,142.84          68,142.84         68,142.84


TRUSTEE EXPENSES:JOHN
PATRICK LOWE                                2200-000                     NA            5,111.34           5,111.34           5,111.34


INTERNATIONAL SURETIES,
LTD.                                        2300-000                     NA              247.17             247.17            247.17


TEXAS NATIONAL TITLE, INC.                  2500-000                     NA              676.82             676.82            676.82


Axos Bank                                   2600-000                     NA              889.17             889.17            889.17


CLERK, U.S. BANKRUPTCY
COURT                                       2700-000                     NA               32.00              32.00              32.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):KELL C. MERCER                 3210-000                     NA           17,680.00          17,680.00         17,680.00




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                                         UNIFORM
                                                              CLAIMS           CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                            SCHEDULED         ASSERTED            ALLOWED
                                          CODE

ATTORNEY FOR TRUSTEE
EXPENSES (OTHER FIRM):KELL
C. MERCER                                 3220-000                      NA           2,470.65          2,470.65           2,470.65


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):JENNIFER L.
ROTHE CPA                                 3410-000                      NA           7,110.00          7,110.00           7,110.00


ACCOUNTANT FOR TRUSTEE
EXPENSES (OTHER
FIRM):JENNIFER L. ROTHE CPA               3420-000                      NA             112.90            112.90            112.90

TOTAL CHAPTER 7 ADMIN. FEES                                          $ NA       $ 102,472.89       $ 102,472.89       $ 102,472.89
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                              CLAIMS           CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                            SCHEDULED         ASSERTED            ALLOWED
                                          CODE

NA: NA                                          NA                      NA                NA                NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                           $ NA               $ NA              $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                CLAIMS           CLAIMS
                                                UNIFORM
                                                              SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                             CLAIMS PAID
                                                               (from Form     (from Proofs of     ALLOWED
                                                 CODE
                                                                   6E)            Claim)

            WILLIAMSON COUNTY                    5800-000                NA            8,935.55         8,935.55          8,935.55




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                                                                 CLAIMS           CLAIMS
                                                    UNIFORM
                                                               SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                                (from Form     (from Proofs of     ALLOWED
                                                     CODE
                                                                    6E)            Claim)

TOTAL PRIORITY UNSECURED                                                $ NA          $ 8,935.55      $ 8,935.55        $ 8,935.55
CLAIMS



               EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                 CLAIMS           CLAIMS
                                                    UNIFORM
                                                               SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                                (from Form     (from Proofs of     ALLOWED
                                                     CODE
                                                                    6F)            Claim)

0003-1          400 W. PARK ST., LLC                7100-000             NA                 0.00             0.00             0.00


0003-2          400 W. PARK ST., LLC                7100-000             NA          842,000.00         5,000.00          5,000.00


                E3D ARCHITECTURE AND
0007            ENGINEERING                         7100-000             NA          265,474.00              0.00             0.00


                LIGHT HARVEST
0004-2          COMMUNITIES, LLC                    7100-000             NA          740,053.72      195,000.00         195,000.00

TOTAL GENERAL UNSECURED                                                 $ NA     $ 1,847,527.72     $ 200,000.00      $ 200,000.00
CLAIMS




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                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                       Page:       1
                                                                                    ASSET CASES                                                                                             Exhibit 8
Case No:            19-10434      TMD     Judge: TONY M. DAVIS                                                        Trustee Name:                     John Patrick Lowe, Trustee
Case Name:          O'CEALLAIGH, LTD.                                                                                Date Filed (f) or Converted (c):   04/02/19 (f)
                                                                                                                     341(a) Meeting Date:               05/09/19
For Period Ending: 11/09/21                                                                                          Claims Bar Date:                   07/02/19



                                     1                                2                         3                         4                         5                                 6
                                                                                       Estimated Net Value
                                                                  Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                  Unscheduled         Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)         Values               and Other Costs)          OA=554(a) Abandon             the Estate

 1. REAL PROPERTY-400 WEST PARK STREET, CEDAR PARK, TX             1,250,000.00                           0.00                                      1,500,000.00                     FA
     LIENHOLDERS: SPV WEST PARK, LLC $900,000; AMERICAN
     BANK OF COMMERCE $100,000.

     MOTION TO SELL REAL PROPERTY COMMONLY KNOWN AS
     400 WEST PARK, CEDAR PARK, WILLIAMSON COUNTY, TEXAS
     TO VERITAS FINANCIAL LLC FREE AND CLEAR OF LIENS
     FILED 05/20/19, DOCKET NO. 31.

     ORDER AUTHORIZING THE SALE OF REAL PROPERTY
     COMMONLY KNOWN AS 400 WEST PARK, CEDAR PARK,
     WILLIAMSON COUNTY, TEXAS TO VERITAS FINANCIAL LLC
     FREE AND CLEAR OF LIENS DATED 06/10/19, DOCKET NO. 57.

     MOTION TO CONFIRM THE TERMINATION OF THE CONTRACT
     OF SALE WITH VERITAS FINANCIAL LLC AND FOR RELATED
     RELIEF FILED 07/11/19, DOCKET NO. 66.

     ORDER GRANTING MOTION TO CONFIRM THE TERMINATION
     OF THE CONTRACT OF SALE WITH VERITAS FINANCIAL LLC
     AND FOR RELATED RELIEF DATED 07/18/19, DOCKET NO. 73.

     REPORT OF SALE OF REAL PROPERTY IN WILLIAMSON
     COUNTY, TEXAS TO LIGHT HARVEST COMMUNITIES, LLC
     FREE AND CLEAR OF LIENS FILED 08/07/19, DOCKET NO. 78.

     SUPPLEMENTAL REPORT OF SALE OF REAL PROPERTY IN
     WILLIAMSON COUNTY, TEXAS TO LIGHT HARVEST
     COMMUNITIES, LLC FREE AND CLEAR OF LIENS FILED



LFORM1                                                                                                                                                                                            Ver: 22.03e
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                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                     Page:       2
                                                                                  ASSET CASES                                                                                             Exhibit 8
Case No:            19-10434      TMD     Judge: TONY M. DAVIS                                                      Trustee Name:                     John Patrick Lowe, Trustee
Case Name:          O'CEALLAIGH, LTD.                                                                              Date Filed (f) or Converted (c):   04/02/19 (f)
                                                                                                                   341(a) Meeting Date:               05/09/19
                                                                                                                   Claims Bar Date:                   07/02/19



                                     1                                2                       3                         4                         5                                 6
                                                                                     Estimated Net Value
                                                                  Petition/     (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                  Unscheduled       Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)         Values             and Other Costs)          OA=554(a) Abandon             the Estate

     05/24/21, DOCKET NO. 334.
 2. UNSCHEDULED ASSET - OTHER PROPERTY (u)                            Unknown                           0.00                                               0.00                    FA
     THIS ASSET NO LISTED ON ORIGINAL SCHEDULES FILED
     04/16/19, DOCKET NO. 9.

     PER AMENDED SCHEDULES FILED 05/09/19, DOCKET NO. 26.
     POSSIBLE CLAIMS AGAINST LIGHT HARVEST COMMUNITIES,
     LLC, 400 W PARK ST, LLC, AARONHILL AND/OR JIM BLEDSOE
     FOR:

     1) BREACH OF FIDUCIARY DUTY - DEBTOR ALLEGES THAT
     ONE OR MORE OF THESE ENTITIES/INDIVIDUALS FAILED TO
     ACT IN THE BEST INTEREST OF THE PARTNERSHIP BY
     BURDENING THE PARTNERSHIP WITH UNNECESSARY DEBT
     FOR PERSONAL GAIN. AARON HILL OF LIGHT HARVEST
     ADMITTED THAT HE SIGNED A USURIOUS NOTE IN ORDER TO
     OBTAIN FUTURE BENEFITS FROM THE LENDER, EVEN WHEN
     THERE WERE MUCH BETTER OPTIONS AVAILABLE. HE ALSO
     ADDED MEMBERS OF HIS IMMEDIATE FAMILY TO THE
     PARTNERSHIP AGREEMENT WITHOUT FIRST NOTIFYING
     EITHER THE DEBTOR OR THE REPRESENTATIVES OF THE
     DEBTOR THAT HE WAS DOING SO. HE INTENTIONALLY
     WITHHELD CRUCIAL FINANCIAL INFORMATION FROM THE
     DEBTOR THAT PREVENTED THE DEBTOR FROM REACHING A
     SETTLEMENT DURING A PRIOR LAWSUIT. AARON HILL HAS
     ALSO INTENTIONALLY INFLATED AND/OR MISREPRESENTED
     THE ACTUAL COSTS OF VARIOUS DEVELOPMENT AND
     PARTNERSHIP RELATED EXPENSES ALLEGEDLY INCURRED
     ON BEHALF OF THE DEBTOR AND HAS ALSO INCURRED



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                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                    Page:       3
                                                                                 ASSET CASES                                                                                             Exhibit 8
Case No:            19-10434      TMD     Judge: TONY M. DAVIS                                                     Trustee Name:                     John Patrick Lowe, Trustee
Case Name:          O'CEALLAIGH, LTD.                                                                             Date Filed (f) or Converted (c):   04/02/19 (f)
                                                                                                                  341(a) Meeting Date:               05/09/19
                                                                                                                  Claims Bar Date:                   07/02/19



                                     1                                2                      3                         4                         5                                 6
                                                                                    Estimated Net Value
                                                                  Petition/    (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                  Unscheduled      Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)         Values            and Other Costs)          OA=554(a) Abandon             the Estate

     NUMEROUS UNNECCESSARY AND EXCESSIVE EXPENESES
     FOR HIS PERSONAL BENEFIT WITH THE MAJOR LENDER FOR
     THE DEBTOR.

     2) BREACH OF CONTRACT - DEBTOR ALLEGES THAT ONE OR
     MORE OF THESE ENTITIES/INDIVIDUALS WILLFULLY FAILED
     TO PROVIDE THE CAPITAL NECESSARY TO PREVENT THE
     FILING OF FORECLOSURES, AND THE FILING OF
     BANKRUPTCY. IN THE ALTERNATIVE, DEBTOR ALLEGES
     THAT ONE OR MORE OF THESE ENTITIES/INDIVIDUALS
     FAILED TO PERFORM OR PROVIDE CONSIDERATION UNDER
     THE CONTRACT THUS CAUSING THE DEBTOR
     CONSIDERABLE FINANCIAL HARM.

     3) FRAUD/FRAUDULENT INDUCEMENT - DEBTOR ALLEGES
     THAT ONE OR MORE OF THESE ENTITIES/INDIVIDUALS
     FRAUDULENTLY INDUCED THOMAS KELLEY AND OR THE
     DEBTOR (O'CALLEAIGH) INTO NOT ACCEPTING A DIFFERENT
     CONTRACT FOR SLIGHTLY LESS VALUE, AND BY
     PROMISSING FUTURE VALUE IT COULD NOT DELIVER
     (MONEY TO PURCHASE LIENS, FUTURE INCOME AFTER
     LARGE SCALE CONSTRUCTION).

     VALUE OF THESE CLAIMS IS UNDETERMINTED AT THIS TIME.

     THE DEBTOR MAY HAVE OTHER CLAIMS AGAINST THESE
     ENTITIES/INDIVIDUALS THAT IT IS NOT YET AWARE OF AND
     RESERVES THE RIGHT TO ASSERT THESE CLAIMS AT A
     LATER DATE IF AND WHEN THEY BECOME KNOWN TO THE




LFORM1                                                                                                                                                                                         Ver: 22.03e
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                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                      Page:       4
                                                                                   ASSET CASES                                                                                             Exhibit 8
Case No:            19-10434      TMD     Judge: TONY M. DAVIS                                                       Trustee Name:                     John Patrick Lowe, Trustee
Case Name:          O'CEALLAIGH, LTD.                                                                               Date Filed (f) or Converted (c):   04/02/19 (f)
                                                                                                                    341(a) Meeting Date:               05/09/19
                                                                                                                    Claims Bar Date:                   07/02/19



                                     1                                2                        3                         4                         5                                 6
                                                                                      Estimated Net Value
                                                                  Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                  Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)         Values              and Other Costs)          OA=554(a) Abandon             the Estate

     DEBTOR.
 3. UNSCHEDULED ASSET - FORFEITED EARNEST MONEY (u)                       0.00                           0.00                                          12,500.00                    FA
     FORFEITED EARNEST MONEY . VERITAS FINANCIAL LLC WAS
     THE HIGH BIDDER, AT $1,600,000.00, AT THE AUCTION IN
     COURT OF THE REAL PROPERTY. IT DEPOSITED $12,500.00
     EARNEST MONEY. BUT IT DIDN'T COMPLETE THE
     PURCHASE. THE TRUSTEE ASKED THE COURT TO FORFEIT
     THE $12,500.00 EARNEST MONEY. THE COURT DID THAT.
 4. UNSCHEDULED PROPERTY - OTHER PROPERTY (u)                             0.00                           0.00                                               0.00                    FA
     THESE POSSIBLE CLAIMS NOT LISTED ON ORIGINAL
     SCHEDULES, LISTED ON SCHEDULES FILED 05/29/20, DOCKET
     NO. 241:

     DEBTOR HAS POSSIBLE CLAIMS AGAINST THE FOLLOWING
     INDIVIDUALS AND/OR ENTITIES IN THIS PROCEEDING.

     1. 400 WEST PARK ST, LLC
     2. AARON HILL
     3. ANDERSON ROBERTS, PLLC
     4. ... REMOVED (POSSIBLE CLAIM ACCRUED
     POST-BANKRUPTCY)
     5. ... REMOVED (POSSIBLE CLAIM ACCRUED
     POST-BANKRUPTCY)
     6. CHUCK DOWDEN
     7. COSMO PALMIERI
     8. GARY SKINNER
     9. ... REMOVED (POSSIBLE CLAIM ACCRUED
     POST-BANKRUPTCY)




LFORM1                                                                                                                                                                                           Ver: 22.03e
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                                                                                         ASSET CASES                                                                                               Exhibit 8
Case No:            19-10434      TMD     Judge: TONY M. DAVIS                                                             Trustee Name:                     John Patrick Lowe, Trustee
Case Name:          O'CEALLAIGH, LTD.                                                                                     Date Filed (f) or Converted (c):   04/02/19 (f)
                                                                                                                          341(a) Meeting Date:               05/09/19
                                                                                                                          Claims Bar Date:                   07/02/19



                                     1                                     2                         3                         4                         5                                   6
                                                                                            Estimated Net Value
                                                                       Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                       Unscheduled         Less Liens, Exemptions,          Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)              Values               and Other Costs)          OA=554(a) Abandon             the Estate

     10. HILL COUNTRY DEVELOPMENT CORP., SERIES LLC
     11. ... REMOVED (POSSIBLE CLAIM ACCRUED
     POST-BANKRUPTCY)
     12. JIM BLEDSOE
     13. JUSTIN ROBERTS
     14. KATHY HILL
     15. KYLE STEPHENS
     16. LIGHT HARVEST COMMUNITIES, LLC
     17. RONALD HILL
     18. SPV WEST PARK LLC

     POSSIBLE CLAIMS ARE ASIGNED BY NUMBER: A) ABUSE OF
     PROCESS 1, 2, 12, 16; B) BREACH OF CONTRACT 1, 2, 3, 6, 8, 10,
     12, 13, 14, 15, 16, 17, 18; C) BREACH OF FIDUCIARY DUTY 1, 2,
     3, 10, 12, 13, 16; D) CONSPIRACY 1-18; E) DECEPTIVE TRADE
     PRACTICE 1, 2, 3, 12, 16; F) EQUITABLE ESTOPPEL 1-8; G)
     FRAUD, FRAUDULENT INDUCEMENT, STATUTORY FRAUD 1,
     2, 3, 7, 10, 12, 13, 14, 15, 16, 17, 18; H) GROSS NEGLIGENCE,
     NEGLIGENCE, NEGLIGENT MISREPRESENTATION,
     NEGLIGENCE PER SE, NEGLIGENT UNDERTAKING 1, 2, 3, 10,
     12, 13, 14, 15, 16, 17, 18; I) INTENTIONAL INFLICTION OF
     EMOTIONAL DISTRESS 1, 2, 3, 7, 12, 13, 15, 16, 18; J)
     PROMISSORY ESTOPPEL 1, 2, 3, 10, 12, 13, 15, 16; K)
     RESPONDEAT SUPERIOR 1, 3, 10, 16

                                                                                                                                                                            Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                     $1,250,000.00                         $0.00                                      $1,512,500.00                             $0.00
                                                                                                                                                                            (Total Dollar Amount in Column 6)




LFORM1                                                                                                                                                                                                    Ver: 22.03e
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                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                                      Page:       6
                                                                                                            ASSET CASES                                                                                       Exhibit 8
Case No:             19-10434       TMD     Judge: TONY M. DAVIS                                                                            Trustee Name:                      John Patrick Lowe, Trustee
Case Name:           O'CEALLAIGH, LTD.                                                                                                      Date Filed (f) or Converted (c):   04/02/19 (f)
                                                                                                                                            341(a) Meeting Date:               05/09/19
                                                                                                                 Claims Bar Date:                                              07/02/19
   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   NOTICE OF COURT COSTS DUE FILED 07/13/21, DOCKET NO. 339. AMOUNT DUE: $0.00.


   TRUSTEE'S REQUEST FOR COURT COSTS FILED 07/12/21, DOCKET NO. 338.


   SUPPLEMENTAL REPORT OF SALE OF REAL PROPERTY IN WILLIAMSON COUNTY, TEXAS TO LIGHT HARVEST COMMUNITIES, LLC FREE AND
   CLEAR OF LIENS FILED 05/24/21, DOCKET NO. 334.


   ORDER APPROVING MOTION OF J. PATRICK LOWE, CHAPTER 7 TRUSTEE TO APPROVE COMPROMISE WITH E3D ARCHITECTURE AND
   ENGINEERING, LIGHT HARVEST COMMUNITIES, LLC AND 400 W PARK ST, LLC DATED 02/23/21, DOCKET NO. 328.


   MOTION OF J. PATRICK LOWE, CHAPTER 7 TRUSTEE TO APPROVE COMPROMISE WITH E3D ARCHITECTURE AND ENGINEERING, LIGHT HAVEST
   COMMUNITIES, LLC, AND 400 W. PARK ST, LLC FILED 12/28/20, DOCKET NO. 323.


   ORDER AUTHORIZING EMPLOYMENT OF KELL C. MERCER & KELL C. MERCER, P.C. AS LITIGATION COUNSEL TO THE TRUSTEE PURSUANT TO
   11.U.S.C. SECTION 327(a) DATED 07/22/20, DOCKET NO. 295.


   DENIED 06/25/20, DOCKET NO. 286 - ORDER GRANTING RETENTION OF HAJJAR PETERS, LLP AS COUNSEL FOR THE ESTATE PURSUANT TO
   11 U.S.C. SECTIONS 327 AND 328.


   APPLICATION FOR AUTHORIZATION TO EMPLOY KELL C. MERCER & KELL C. MERCER, P.C. AS LITIGATION COUNSEL TO THE TRUSTEE
   PURSUANT TO 11 U.S.C. SECTION 327(a) FILED 06/25/20, DOCKET NO. 283.


   REPORT REGARDING THE ADMINISTRATION OF THE ESTATE FILED 06/12/20, DOCKET NO. 264.


   APPLICATION FOR RETENTION OF HAJJAR PETERS, LLP AS COUNSEL FOR THE ESTATE PURSUANT TO 11 U.S.C. SECTIONS 327 AND 328
   FILED 05/29/20, DOCKET NO. 244.


   AGREED ORDER GRANTING MOTION TO APPROVE THE SETTLEMENT OF THE TRUSTEE'S OBJECTION TO CLAIM #6-1 OF THE DEPARTMENT OF
   TREASURY - INTERNAL REVUE SERVICE DATED 12/14/19, DOCKET NO. 125.




LFORM1                                                                                                                                                                                                              Ver: 22.03e
         UST Form 101-7-TDR (10/1/2010) (Page: 12)
                                    19-10434-tmd Doc#346 Filed 11/17/21 Entered
                                                                           FORM 1
                                                                                 11/17/21 10:58:21 Main Document Pg 13
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                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                         Page:       7
                                                                                  ASSET CASES                                                                                 Exhibit 8
Case No:             19-10434     TMD    Judge: TONY M. DAVIS                                               Trustee Name:                      John Patrick Lowe, Trustee
Case Name:           O'CEALLAIGH, LTD.                                                                      Date Filed (f) or Converted (c):   04/02/19 (f)
                                                                                                            341(a) Meeting Date:               05/09/19
                                                                                                            Claims Bar Date:                   07/02/19


   ORDER GRANTING MOTION TO CONFIRM THE CONTINUED EMPLOYMENT OF THE ACCOUNTANT FOR THE ESTATE DATED 11/26/19, DOCKET NO.
   115.


   MOTION TO CONFIRM THE CONTINUED EMPLOYMENT OF THE ACCOUNTANT FOR THE ESTATE FILED 10/30/19, DOCKET NO. 103.


   MOTION TO APPROVE THE SETTLEMENT OF THE TRUSTEE'S OBJECTION TO CLAIM #6-1 OF THE DEPARTMENT OF TREASURY - INTERNAL
   REVENUE SERVICE FILED 10/21/19, DOCKET NO. 99.


   NOTICE OF CHANGE OF ADDRESS OF THE ACCOUNTANT FOR THE ESTATE FILED 10/16/19, DOCKET NO. 98.


   ORDER AUTHORIZING TRUSTEE TO SERVE AS HIS OWN ATTORNEY DATED 09/06/19, DOCKET NO. 87.


   APPLICATION BY TRUSTEE AND LAW FIRM OF WHICH TRUSTEE IS A MEMBER TO ACT AS ATTORNEY FOR THE ESTATE FILED 08/09/19,
   DOCKET NO. 80.


   REPORT OF SALE OF REAL PROPERTY IN WILLIAMSON COUNTY, TEXAS TO LIGHT HARVEST COMMUNITIES, LLC FREE AND CLEAR OF LIENS
   FILED 08/07/19, DOCKET NO. 78.


   ORDER GRANTING MOTION TO CONFIRM THE TERMINATION OF THE CONTRACT OF SALE WITH VERITAS FINANCIAL LLC AND FOR RELATED
   RELIEF DATED 07/18/19, DOCKET NO. 73.


   ORDER APPROVING EMPLOYMENT OF ACCOUNTANT FILED 07/11/19, DOCKET NO. 68.


   MOTION TO CONFIRM THE TERMINATION OF THE CONTRACT OF SALE WITH VERITAS FINANCIAL LLC AND FOR RELATED RELIEF FILED
   07/11/19, DOCKET NO. 66.


   TRUSTEE'S RESPONSE TO THE DEBTOR'S MOTION TO DISMISS CASE [DOC. NO. 11] FILED 06/21/19, DOCKET NO. 62.


   TRUSTEE'S APPLICATION TO EMPLOY ACCOUNTANT FILED 06/14/19, DOCKET NO. 61.


   RESPONSE TO MOTION OF SPV WEST PARK, LLC AND AMERICAN BANK OF COMMERCE'S JOINT MOTION FOR RELIEF FROM AUTOMATIC STAY AS




LFORM1                                                                                                                                                                              Ver: 22.03e
          UST Form 101-7-TDR (10/1/2010) (Page: 13)
                                      19-10434-tmd Doc#346 Filed 11/17/21 Entered
                                                                             FORM 1
                                                                                   11/17/21 10:58:21 Main Document Pg 14
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                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                 Page:       8
                                                                                                  ASSET CASES                                                                           Exhibit 8
Case No:            19-10434       TMD     Judge: TONY M. DAVIS                                                       Trustee Name:                      John Patrick Lowe, Trustee
Case Name:          O'CEALLAIGH, LTD.                                                                                 Date Filed (f) or Converted (c):   04/02/19 (f)
                                                                                                                      341(a) Meeting Date:               05/09/19
                                                                                                                      Claims Bar Date:                   07/02/19
   TO 400 WEST PARK, CEDAR PARK, TX 78613 FILED 06/12/19, DOCKET NO. 58.


   ORDER AUTHORIZING THE SALE OF REAL PROPERTY COMMONLY KNOWN AS 400 WEST PARK, CEDAR PARK, WILLIAMSON COUNTY, TEXAS TO
   VERITAS FINANCIAL LLC FREE AND CLEAR OF LIENS DATED 06/10/19, DOCKET NO. 57.


   MOTION TO SELL REAL PROPERTY COMMONLY KNOWN AS 400 WEST PARK, CEDAR PARK, WILLIAMSON COUNTY, TEXAS TO VERITAS FINANCIAL
   LLC FREE AND CLEAR OF LIENS FILED 05/20/19, DOCKET NO. 31.


   Initial Projected Date of Final Report (TFR): 03/31/20    Current Projected Date of Final Report (TFR): 09/30/21




LFORM1                                                                                                                                                                                        Ver: 22.03e
         UST Form 101-7-TDR (10/1/2010) (Page: 14)
                                    19-10434-tmd Doc#346 Filed 11/17/21 Entered 11/17/21 10:58:21 Main Document Pg 15
                                                                          of 20 2
                                                                          FORM                                                                                                                  Page:     1
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             19-10434 -TMD                                                                                        Trustee Name:                    John Patrick Lowe, Trustee
  Case Name:           O'CEALLAIGH, LTD.                                                                                    Bank Name:                       Axos Bank
                                                                                                                            Account Number / CD #:           *******0776 Checking Account
  Taxpayer ID No:    *******5866
  For Period Ending: 11/09/21                                                                                               Blanket Bond (per case limit):   $ 116,650,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                4                                             5                       6                   7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction          Tran. Code       Deposits ($)       Disbursements ($)          Balance ($)
                                                                                    BALANCE FORWARD                                                                                                           0.00
          08/05/19        3       Texas National Title Escrow Trust Acct            FORFEITED EARNEST MONEY                       1290-000               12,500.00                                      12,500.00
          08/05/19                Texas National Title Escrow Trust Acct            NET PROCEEDS-SALE OF R/E PROPERTY                                   370,368.12                                  382,868.12
                          1       TEXAS NATIONAL TITLE ESCROW TRUST A                 Memo Amount:    1,500,000.00                1110-000
                                                                                    GROSS PROCEEDS-SALE OF R/E PROPERTY
                                  WILLIAMSON COUNTY                                    Memo Amount:  (     8,935.55 )             5800-000
                                                                                    COUNTY TAXES 1/1/19 TO 8/2/19
                                                                                    COUNTY TAXES 1/1/2019 TO 8/2/2019 @
                                                                                    $15,312.10/YEAR
                                  SPV WEST PARK, LLC                                  Memo Amount:    ( 972,193.03 )              4110-000
                                                                                    PAYOFF OF FIRST MORTGAGE LIEN
                                  THE AMERICAN BANK OF COMMERCE                       Memo Amount:   ( 127,600.74 )               4110-000
                                                                                    PAYOFF OF SECOND MORTGAGE LIEN
                                  TEXAS NATIONAL TITLE, INC.                            Memo Amount:        (      676.82 )   2500-000
                                                                                    Costs Re Sale of Property (excludes
                                                                                    BREAKDOWN: E-RECORDING SERVICE FEE
                                                                                    $8.52; TAX CERTIFICATE FEE TO TEXAS
                                                                                    REAL-TEX, INC. $43.30; ATTORNEY'S FEES TO
                                                                                    LAW OFFICE OF JOHN W. PLEUTHNER, PC
                                                                                    $150.00; SETTLEMENT OR CLOSING FEE TO
                                                                                    LAW OFFICE OF JOHN W. PLEUTHNER, PC
                                                                                    $400.00; RECORDING FEES, RELEASE/RECON
                                                                                    (AFTER CLOSING) T TEXAS NATIONAL TITLE -
                                                                                    POST CLOSE HOLD $50.00; RLEASE OF MLN TO
                                                                                    MLHC RECORDING ACCOUNT $25.00.
                                  WILLIAMSON COUNTY                                    Memo Amount: (         20,225.74 )         4700-000
                                                                                    AD VALOREM TAXES
          10/07/19     004001     INTERNATIONAL SURETIES, LTD.                      BOND PREMIUM-BOND #016071777                  2300-000                                           137.27         382,730.85
                                                                                    TERM: 10/01/19 TO 10/01/19
          12/31/19     004002     Department of the Treasury                        SETTLEMENT PER AGREED ORDER DATED             4300-000                                      65,000.00           317,730.85

                                                                                                                            Page Subtotals              382,868.12                  65,137.27
                                                                                                                                                                                                        Ver: 22.03e
LFORM24
          UST Form 101-7-TDR (10/1/2010) (Page: 15)
                                    19-10434-tmd Doc#346 Filed 11/17/21 Entered 11/17/21 10:58:21 Main Document Pg 16
                                                                          of 20 2
                                                                          FORM                                                                                                            Page:    2
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                       Exhibit 9
  Case No:             19-10434 -TMD                                                                                    Trustee Name:                    John Patrick Lowe, Trustee
  Case Name:           O'CEALLAIGH, LTD.                                                                                Bank Name:                       Axos Bank
                                                                                                                        Account Number / CD #:           *******0776 Checking Account
  Taxpayer ID No:    *******5866
  For Period Ending: 11/09/21                                                                                           Blanket Bond (per case limit):   $ 116,650,000.00
                                                                                                                        Separate Bond (if applicable):


           1              2                              3                                             4                                            5                       6                 7
     Transaction      Check or                                                                                                 Uniform                                                    Account / CD
        Date          Reference               Paid To / Received From                      Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
                                  Internal Revenue Service                       12/14/19, DOCKET NO. 125
                                                                                 AGREED ORDER GRANTING MOTION TO
                                                                                 APPROVE THE SETTLEMENT OF THE
                                                                                 TRUSTEE'S OBJECTION TO CLAIM #6-1 OF THE
                                                                                 DEPARTMENT OF TREASURY-INTERNAL
                                                                                 REVENUE SERVICE DATED 12/14/19, DOCKET
                                                                                 NO. 125.

                                                                                 CHECK MAILED TO:

                                                                                 STEVEN B. BASS
                                                                                 ASSISTANT UNITED STATES ATTORNEY
                                                                                 ATTORNEY FOR THE INTERNAL REVENUE
                                                                                 SERVICE
                                                                                 OF THE UNITED STATES OF AMERICA
                                                                                 903 SAN JACINTO, SUITE 334
                                                                                 AUSTIN, TX 78701
 *        10/05/20     004003     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM - BOND #016071777               2300-003                                          109.70        317,621.15
                                                                                 TERM: 10/01/20 TO 10/01/21
 *        10/05/20     004003     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM - BOND #016071777               2300-003                                          -109.70       317,730.85
                                                                                 WRONG AMOUNT CALCULATED.
          10/05/20     004004     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM - BOND #016071777               2300-000                                          109.90        317,620.95
                                                                                 TERM: 10/01/20 TO 10/01/21
          03/03/21                Axos Bank                                      BANK SERVICE FEE                             2600-000                                          316.75        317,304.20
          03/10/21     004005     Hayward & Associates, PLLC - IOLTA Trust       PER ORDER - DOCKET NO. 328               7100-000                                          195,000.00        122,304.20
                                  Account                                        ORDER APPROVING MOTION OF J. PATRICK
                                                                                 LOWE, CHAPTER 7 TRUSTEE TO APPROVE
                                                                                 COMPROMISE WITH E3D ARCHITECTURE AND
                                                                                 ENGINEERING, LIGHT HARVEST
                                                                                 COMMUNITIES, LLC, AND 400 W PARK ST, LLC


                                                                                                                        Page Subtotals                        0.00           195,426.65
                                                                                                                                                                                                  Ver: 22.03e
LFORM24
          UST Form 101-7-TDR (10/1/2010) (Page: 16)
                                    19-10434-tmd Doc#346 Filed 11/17/21 Entered 11/17/21 10:58:21 Main Document Pg 17
                                                                          of 20 2
                                                                          FORM                                                                                                                 Page:     3
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             19-10434 -TMD                                                                                       Trustee Name:                    John Patrick Lowe, Trustee
  Case Name:           O'CEALLAIGH, LTD.                                                                                   Bank Name:                       Axos Bank
                                                                                                                           Account Number / CD #:           *******0776 Checking Account
  Taxpayer ID No:    *******5866
  For Period Ending: 11/09/21                                                                                              Blanket Bond (per case limit):   $ 116,650,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                              3                                                4                                            5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                 DATED 02/23/21, DOCKET NO. 328.

                                                                                 CHECK SENT VIA FEDEX TO:

                                                                                 Hayward PLLC
                                                                                 10501 N. Central Expressway, Suite 106
                                                                                 Dallas, TX 75231
          03/10/21     004006     Hayward & Associates, PLLC - IOLTA Trust       PER ORDER - DOCKET NO. 328               7100-000                                                 5,000.00        117,304.20
                                  Account                                        ORDER APPROVING MOTION OF J. PATRICK
                                                                                 LOWE, CHAPTER 7 TRUSTEE TO APPROVE
                                                                                 COMPROMISE WITH E3D ARCHITECTURE AND
                                                                                 ENGINEERING, LIGHT HARVEST
                                                                                 COMMUNITIES, LLC, AND 400 W PARK ST, LLC
                                                                                 DATED 02/23/21, DOCKET NO. 328.

                                                                                 CHECK SENT VIA FEDEX TO:

                                                                                 Hayward PLLC
                                                                                 10501 N. Central Expressway, Suite 106
                                                                                 Dallas, TX 75231
          04/02/21                Axos Bank                                      BANK SERVICE FEE                                2600-000                                           229.27         117,074.93
          05/03/21                Axos Bank                                      BANK SERVICE FEE                                2600-000                                           125.10         116,949.83
          05/04/21     004007     Kell C. Mercer                                 ATTORNEY FOR TRUSTEE FEES                 3210-000                                             17,680.00              99,269.83
                                  KELL C. MERCER, P.C.                           PER ORDER DATED 05/04/21, DOCKET NO. 332
                                  1602 E. Cesar Chavez Street                    ORDER APPROVING FIRST AND FINAL FEE
                                  Austin, Texas 78702                            APPLICATION OF KELL C. MERCER AND KELL
                                                                                 C. MERCER, P.C. AS LITIGATION COUNSEL FOR
                                                                                 THE CHAPTER 7 TRUSTEE FOR ALLOWANCE
                                                                                 AND PAYMENT OF COMPENSATION AND
                                                                                 REIMBURSEMENT OF EXPENSES DATED


                                                                                                                           Page Subtotals                        0.00              23,034.37
                                                                                                                                                                                                       Ver: 22.03e
LFORM24
          UST Form 101-7-TDR (10/1/2010) (Page: 17)
                                    19-10434-tmd Doc#346 Filed 11/17/21 Entered 11/17/21 10:58:21 Main Document Pg 18
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                                                                          FORM                                                                                                               Page:     4
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             19-10434 -TMD                                                                                     Trustee Name:                    John Patrick Lowe, Trustee
  Case Name:           O'CEALLAIGH, LTD.                                                                                 Bank Name:                       Axos Bank
                                                                                                                         Account Number / CD #:           *******0776 Checking Account
  Taxpayer ID No:    *******5866
  For Period Ending: 11/09/21                                                                                            Blanket Bond (per case limit):   $ 116,650,000.00
                                                                                                                         Separate Bond (if applicable):


           1              2                                3                                            4                                            5                       6                   7
    Transaction       Check or                                                                                                  Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                 05/04/21, DOCKET NO. 332.
          05/04/21     004008     Kell C. Mercer                                 ATTORNEY EXPENSES (OTHER FIRM)            3220-000                                              2,470.65            96,799.18
                                  KELL C. MERCERT, P.C.                          PER ORDER DATED 05/04/21, DOCKET NO. 332.
                                  1602 E. Cesar Chavez Street                    ORDER APPROVING FIRST AND FINAL FEE
                                  Austin, Texas 78702                            APPLICATION OF KELL C. MERCER AND KELL
                                                                                 C. MERCER, P.C. AS LITIGATION COUNSEL FOR
                                                                                 THE CHAPTER 7 TRUSTEE FOR ALLOWANCE
                                                                                 AND PAYMENT OF COMPENSATION AND
                                                                                 REIMBURSEMENT OF EXPENSES DATED
                                                                                 05/04/21, DOCKET NO. 332.
          05/21/21     004009     Clerk, U.S. Bankruptcy Court                   RECORDING                                     2700-000                                            31.00             96,768.18
                                  Austin Division
                                  903 San Jacinto, Suite 322
                                  Austin, TX 78701
          05/24/21     004010     Clerk, U.S. Bankruptcy Court                   ADDITIONAL FEE - RECORDING                    2700-000                                              1.00            96,767.18
                                  Austin Division                                CHECK MAILED TO THE ATTN OF:
                                  903 San Jacinto, Suite 322
                                  Austin, TX 78701                               LAURIE BOYD
          06/01/21                Axos Bank                                      BANK SERVICE FEE                              2600-000                                           114.78             96,652.40
          07/01/21                Axos Bank                                      BANK SERVICE FEE                              2600-000                                           103.27             96,549.13
          07/07/21     004011     Jennifer L. Rothe, CPA                         ACCOUNTANT FOR TRUSTEE FEES                   3410-000                                          7,110.00            89,439.13
                                  J L Rothe, PLLC                                PER ORDER DATED 07/07/21, DOCKET NO. 336
                                  2775 FM 1796                                   ORDER ON FIRST AND FINAL FEE
                                  D'Hanis, Texas 78850                           APPLICATION OF J L ROTHE, PLLC, CERTIFIED
                                                                                 PUBLIC ACCOUNTANT FOR THE TRUSTEE,
                                                                                 FOR COMPENSATION OF FEES AND EXPENSES
                                                                                 INCURRED FROM JUNE 12, 2019 THROUGH
                                                                                 JUNE 10, 2021 DATED 07/07/21, DOCKET NO.
                                                                                 336.
          07/07/21     004012     Jennifer L. Rothe, CPA                         ACCOUNTANT FOR TRUSTEE EXPENSES               3420-000                                           112.90             89,326.23

                                                                                                                         Page Subtotals                        0.00               9,943.60
                                                                                                                                                                                                     Ver: 22.03e
LFORM24
          UST Form 101-7-TDR (10/1/2010) (Page: 18)
                                    19-10434-tmd Doc#346 Filed 11/17/21 Entered 11/17/21 10:58:21 Main Document Pg 19
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                                                                          FORM                                                                                                                 Page:     5
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             19-10434 -TMD                                                                                       Trustee Name:                    John Patrick Lowe, Trustee
  Case Name:           O'CEALLAIGH, LTD.                                                                                   Bank Name:                       Axos Bank
                                                                                                                           Account Number / CD #:           *******0776 Checking Account
  Taxpayer ID No:    *******5866
  For Period Ending: 11/09/21                                                                                              Blanket Bond (per case limit):   $ 116,650,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                               4                                            5                       6                   7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  J L Rothe, PLLC                                PER ORDER DATED 07/07/21, DOCKET NO. 336.
                                  2775 FM 1796                                   ORDER ON FIRST AND FINAL FEE
                                  D'Hanis, Texas 78850                           APPLICATION OF J L ROTHE, PLLC, CERTIFIED
                                                                                 PUBLIC ACCOUNTANT FOR THE TRUSTEE,
                                                                                 FOR COMPENSATION OF FEES AND EXPENSES
                                                                                 INCURRED FROM JUNE 12, 2019 THROUGH
                                                                                 JUNE 10, 2021 DATED 07/07/21, DOCKET NO.
                                                                                 336.
          09/13/21     004013     John Patrick Lowe                              TRUSTEE'S COMPENSATION                          2100-000                                       68,142.84              21,183.39
                                  J. Patrick Lowe, P.C.                          PER ORDER DATED 09/13/21, DOCKET NO. 344
                                  2402 East Main Street
                                  Uvalde, TX 78801
          09/13/21     004014     John Patrick Lowe                              TRUSTEE'S EXPENSES                              2200-000                                          5,111.34            16,072.05
                                  J. Patrick Lowe, P.C.                          PER ORDER DATED 09/13/21, DOCKET NO. 344
                                  2402 East Main Street
                                  Uvalde, TX 78801
          09/13/21     004015     O'CEALLAIGH, LTD.                              Surplus Funds                                   8200-002                                       16,072.05                    0.00
                                                                                 CHECK MAILED TO:

                                                                                 Douglas J. Powell
                                                                                 820 West 10th Street
                                                                                 Austin, TX 78701




                                                                                                                           Page Subtotals                        0.00              89,326.23
                                                                                                                                                                                                       Ver: 22.03e
LFORM24
          UST Form 101-7-TDR (10/1/2010) (Page: 19)
                                       19-10434-tmd Doc#346 Filed 11/17/21 Entered 11/17/21 10:58:21 Main Document Pg 20
                                                                             of 20 2
                                                                             FORM                                                                                                                          Page:      6
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                     Exhibit 9
  Case No:             19-10434 -TMD                                                                                          Trustee Name:                       John Patrick Lowe, Trustee
  Case Name:           O'CEALLAIGH, LTD.                                                                                      Bank Name:                          Axos Bank
                                                                                                                              Account Number / CD #:              *******0776 Checking Account
  Taxpayer ID No:    *******5866
  For Period Ending: 11/09/21                                                                                                 Blanket Bond (per case limit):      $ 116,650,000.00
                                                                                                                              Separate Bond (if applicable):


          1                2                                3                                             4                                                 5                          6                         7
    Transaction       Check or                                                                                                       Uniform                                                               Account / CD
       Date           Reference                   Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)

                                            Memo Allocation Receipts:          1,500,000.00               COLUMN TOTALS                                    382,868.12                  382,868.12                          0.00
                                        Memo Allocation Disbursements:         1,129,631.88                   Less: Bank Transfers/CD's                          0.00                        0.00
                                                                                                          Subtotal                                         382,868.12              382,868.12
                                                   Memo Allocation Net:          370,368.12                   Less: Payments to Debtors                                             16,072.05
                                                                                                          Net
                                                                                                                                                           382,868.12              366,796.07
                                                                                                                                                                                  NET                             ACCOUNT
                     Total Allocation Receipts:         1,500,000.00                                      TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:          1,129,631.88                                      Checking Account - ********0776                   382,868.12                  366,796.07                          0.00
                                                                                                                                                  ------------------------    ------------------------   ------------------------
                   Total Memo Allocation Net:             370,368.12
                                                                                                                                                            382,868.12                  366,796.07                          0.00
                                                                                                                                                  ==============             ==============              ==============
                                                                                                                                                   (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                              Transfers)               To Debtors)                    On Hand




                                                                                                                              Page Subtotals                        0.00                        0.00
                                                                                                                                                                                                                     Ver: 22.03e
LFORM24
          UST Form 101-7-TDR (10/1/2010) (Page: 20)
